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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN

MONIQUE GRIMES, as Personal
Representative of the Estate of
Damon Grimes, deceased,
                                      No. 2:17-cv-12860
      Plaintiff,                       consolidated with
                                      No. 2:17-cv-13580
v.
                                      HON. GERSHWIN A. DRAIN
TROOPER MARK BESSNER,
TROOPER ETHAN BERGER,
and SGT. JACOB LISS,

      Defendants.


Geoffrey N. Fieger (P30441)           Mark E. Donnelly (P39281)
James J. Harrington, IV (P65351)      John G. Fedynsky (P65232)
Gina U. Puzzuoli (P37992)             Assistant Attorneys General
Fieger, Fieger, Kenney &              Attorneys for Defendant Berger
Harrington, P.C.                      Michigan Dep’t of Attorney General
Attorneys for Plaintiff               Civil Litigation, Employment &
19390 West 10 Mile Road               Elections Division
Southfield, MI 48075                  P.O. Box 30736
(248) 355-5555                        Lansing, MI 48909
                                      (517) 373-6434

  DEFENDANT BERGER’S ANSWER TO PLAINTIFF’S SECOND
   AMENDED COMPLAINT, AFFIRMATIVE DEFENSES AND
              DEMAND FOR JURY TRIAL

      Defendant Ethan Berger, by counsel, answers Plaintiff’s Second

Amended Complaint, by like-numbered paragraphs, as follows.
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                             JURISDICTION

      1. Defendant admits this Court has federal subject matter

jurisdiction.

      2. Defendant admits this Court has federal subject matter

jurisdiction.

      3. Defendant admits this Court may exercise supplemental

jurisdiction over the state law claim.


      4. Defendant neither admits nor denies the allegations because he

lacks knowledge or information sufficient to form a belief as to their

truth.

                                  VENUE

      5. Defendant admits venue is proper.


                                 PARTIES

      6. Defendant neither admits nor denies the allegations because he

lacks knowledge or information sufficient to form a belief as to their

truth.

      7. Defendant neither admits nor denies the allegations because he

lacks knowledge or information sufficient to form a belief as to their

truth.
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      8. Defendant neither admits nor denies the allegations because he

lacks knowledge or information sufficient to form a belief as to their

truth.

      9. Defendant admits that he acted under color of law and within

the scope of his official duties. In further response, Defendant states

that at all times he acted in his official capacity and not his individual

capacity.


      10. Defendant neither admits nor denies the allegations because

he lacks knowledge or information sufficient to form a belief as to their

truth.


                        FACTUAL STATEMENT

      11. Defendant incorporates all prior responses.

      12. Defendant admits the allegations.

      13. Defendant admits that he was driving and he pursued Grimes.

Defendant otherwise denies the allegations as untrue.

      14. Defendants admits he was driving and Bessner was the

passenger. Defendant otherwise denies the allegations as untrue.

      15. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant neither
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admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      16. The allegations require no response because they are vague

and they state legal conclusions.

      17. Defendant admits that at the relevant times he did not see

Grimes display an object that appeared to be a weapon. Defendant

otherwise neither admits nor denies the allegations because he lacks

knowledge or information sufficient to form a belief as to their truth.

      18. Defendant denies the allegations as untrue.

      19. Defendant denies the allegations as untrue.

      20. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant neither

admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      21. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant denies the

allegations as untrue.

      22. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant neither


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admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      23. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant neither

admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      24. Defendant neither admits nor denies the allegations because

he lacks knowledge or information sufficient to form a belief as to their

truth.

      25. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      26. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.


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      27. Defendant denies the allegations as untrue.

      28. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      29. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

denies the allegations as untrue.

      30. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      31. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant




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neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      32. Defendant denies the allegations as untrue.

      33. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

denies the allegations as untrue.

      34. The allegations require no response because they state legal

conclusions and are vague and compound. If a response is deemed

required, Defendant denies the allegations as untrue.

      35. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant denies the

allegations as untrue.

      36. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

denies the allegations as untrue.

      37. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not


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attributable to Defendant. If a response is deemed required, Defendant

neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

      38. Defendant does not contest that he acted under color of law

and within the scope of his official duties. Defendant otherwise denies

the allegations as untrue.

      39. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.


                          COUNT I
 42 U.S.C. § 1983–EXCESSIVE FORCE AGAINST DEFENDANTS,
 TROOPER MARK BESSNER AND TROOPER ETHAN BERGER

      40. Defendant incorporates all prior responses.

      41. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

neither admits nor denies the allegations because he lacks knowledge or

information sufficient to form a belief as to their truth.

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      42. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant responds that

the law speaks for itself and at all times he acted under color of law and

in his official capacity.

      43. The allegations require no response because they state legal

conclusions. If a response is deemed required, Defendant responds that

the law speaks for itself and at all times he acted under color of law and

in his official capacity. Defendant otherwise neither admits nor denies

the allegations because he lacks knowledge or information sufficient to

form a belief as to their truth.

      44. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

denies the allegations as untrue.

      45. The allegations require no response because they state legal

conclusions and are vague and compound and allege conduct not

attributable to Defendant. If a response is deemed required, Defendant

denies the allegations as untrue.




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       46. The allegations, and all their subparts, require no response

 because they state legal conclusions and are vague and compound and

 allege conduct not attributable to Defendant. If a response is deemed

 required, Defendant denies the allegations, and all their subparts, as

 untrue.

       47. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       48. The allegations require no response because they state legal

 conclusions and are vague and allege conduct not attributable to

 Defendant. If a response is deemed required, Defendant denies the

 allegations as untrue.

       Defendant respectfully requests that the Court dismiss all claims

 and grant any other appropriate relief to Defendant.


                      COUNT II
    GROSS NEGLIGENCE AGAINST DEFENDANTS TROOPER
    MARK BESSNER, TROOPER ETHAN BERGER, AND SGT.
                     JACOB LISS

       49. Defendant incorporates all prior responses.


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       50. The allegations require no response because they state legal

 conclusions. If a response is deemed required, Defendant responds that

 the law speaks for itself.

       51. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 neither admits nor denies the allegations because he lacks knowledge or

 information sufficient to form a belief as to their truth.

       52. The allegations, and all their subparts, require no response

 because they state legal conclusions and are vague and compound and

 allege conduct not attributable to Defendant. If a response is deemed

 required, Defendant denies the allegations, and all their subparts, as

 untrue.

       53. The allegations, and all their subparts, require no response

 because they state legal conclusions and are vague and compound and

 allege conduct not attributable to Defendant. If a response is deemed

 required, Defendant neither admits nor denies the allegations, and all

 their subparts, because he lacks knowledge or information sufficient to

 form a belief as to their truth.


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       54. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       55. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       56. The allegations require no response because they state legal

 conclusions and are vague and allege conduct not attributable to

 Defendant. If a response is deemed required, Defendant denies the

 allegations as untrue.

       57. The allegations, and all their subparts, require no response

 because they state legal conclusions and are vague and compound and

 allege conduct not attributable to Defendant. If a response is deemed

 required, Defendant denies the allegations, and all their subparts, as

 untrue.

       Defendant respectfully requests that the Court dismiss all claims

 and grant any other appropriate relief to Defendant.


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                     COUNT III
  ASSAULT AND BATTERY AGAINST DEFENDANTS TROOPER
      MARK BESSNER AND TROOPER ETHAN BERGER

       58. Defendant incorporates all prior responses.

       59. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       60. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       61. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       62. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.


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       63. The allegations, and all their subparts, require no response

 because they state legal conclusions and are vague and compound and

 allege conduct not attributable to Defendant. If a response is deemed

 required, Defendant denies the allegations, and all their subparts, as

 untrue.

       64. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       65. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       Defendant respectfully requests that the Court dismiss all claims

 and grant any other appropriate relief to Defendant.


                         COUNT IV
  VIOLATION 42 USC § 1985(3) CONSPIRACY TO DEPRIVE AND
    INTERFERE WITH PLAINTIFF’S CIVIL RIGHTS AGAINST
     DEFENDANTS, TROOPER MARK BESSNER AND ETHAN
              BERGER AND SGT. JACOB LISS

       66. Defendant incorporates all prior responses.

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       67. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       68. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       69. The allegations, and all their subparts, require no response

 because they state legal conclusions and are vague and compound and

 allege conduct not attributable to Defendant. If a response is deemed

 required, Defendant denies the allegations, and all their subparts, as

 untrue.

       70. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       71. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not


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 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       72. The allegations require no response because they state legal

 conclusions and are vague and compound and allege conduct not

 attributable to Defendant. If a response is deemed required, Defendant

 denies the allegations as untrue.

       73. The allegations, and all their subparts, require no response

 because they state legal conclusions and are vague and compound and

 allege conduct not attributable to Defendant. If a response is deemed

 required, Defendant denies the allegations, and all their subparts, as

 untrue.

       Defendant respectfully requests that the Court dismiss all claims

 and grant any other appropriate relief to Defendant.




                       AFFIRMATIVE DEFENSES

       1.    Some or all of Plaintiff’s losses and damages, if any, were

 caused by decedent’s own conduct or the conduct of others and not

 attributable to Defendant.



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       2.    Defendant is entitled to qualified immunity or other

 immunity granted by federal law.

       3.    To the extent that Plaintiff attempts to bring claims against

 Defendant in his official capacity, the Eleventh Amendment bars such

 claims.

       4.    Defendant is entitled to governmental immunity or other

 immunity granted by Michigan law. This immunity includes but is not

 limited to Defendant’s actions not being the proximate cause of

 decedent’s injuries.

       5.    Defendant objects to any failure by Plaintiff to join all claims

 and parties required to be joined.


       6.    Defendant reserves the right to raise further defenses or

 assert other matters revealed by continuing investigation and

 discovery, including all defenses available under Federal Rules of Civil

 Procedure 12 and 56, upon the completion of discovery and as the Court

 permits.




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         DEFENDANT’S RELIANCE UPON JURY DEMAND

       Defendant relies upon the jury demand filed in this matter, and

 will pay any fee upon proper notification by the Court.

                                           Respectfully submitted,

                                           Bill Schuette
                                           Attorney General

                                           s/John G. Fedynsky
                                           John G. Fedynsky (P65232)
                                           Assistant Attorney General
                                           Attorney for Defendant Berger
                                           Civil Litigation, Employment
                                           and Elections Division
                                           P.O. Box 30736
                                           Lansing, MI 48909
                                           (517) 373-6334
 June 22, 2018                             fedynskyj@michigan.gov




                      CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of June, 2018, I electronically
 filed the foregoing paper with the Clerk of the Court using the ECF
 system which will send notification of such.

                                           s/John G. Fedynsky
                                           John G. Fedynsky
                                           Assistant Attorney General
                                           Attorney for Defendant Berger
                                           Civil Litigation, Employment
                                           and Elections Division


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